                 association's NRS 116.3116(2) superpriority lien has true priority over a
                 first security interest, and the association may nonjudicially foreclose on
                 that lien. The district court's decisions thus were based on an erroneous
                 interpretation of the controlling law and did not reach the other issues
                 colorably asserted. Accordingly, we
                             VACATE the order denying preliminary injunctive relief,
                 REVERSE the order granting the motion to dismiss, AND REMAND this
                 matter to the district court for further proceedings consistent with this
                 order.




                                                             Hardesty



                                                             Douglas
                                                                    •e#7,4                J.




                 CHERRY, J., concurring:
                             For the reasons stated in the SFR Investments Pool 1, LLC v.
                 U.S. Bank, N.A.,   130 Nev. , 334 P.3d 408 (2014), dissent, I disagree
                 that respondent lost its lien priority by virtue of the homeowners
                 association's nonjudicial foreclosure sale. I recognize, however, that SFR
                 Investments is now the controlling law and, thusly, concur in the
                 disposition of these appeals.

                                                                                          J.




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                  cc:   Hon. Jerry A. Wiese, District Judge
                        Howard Kim &amp; Associates
                        Wright, Finlay &amp; Zak, LLP/Las Vegas
                        Eighth District Court Clerk




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